                                Case 22-13983-PDR                     Doc 13          Filed 05/22/22              Page 1 of 2
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 22-13983-PDR
Annetta McCalla                                                                                                        Chapter 13
Curtis McNeal
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: May 20, 2022                                               Form ID: CGFI4                                                             Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 22, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Annetta McCalla, Curtis McNeal, 1251 NW 51 Ave, Lauderhill, FL 33313-6542

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 22, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 20, 2022 at the address(es) listed below:
Name                               Email Address
Office of the US Trustee
                                   USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
                                   ecf@ch13weiner.com ecf2@ch13weiner.com


TOTAL: 2
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CGFI4 (01/26/22)




ORDERED in the Southern District of Florida on May 20, 2022




                                                                                                  Peter D. Russin
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                               Case Number: 22−13983−PDR
                                                                                                               Chapter: 13
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Annetta McCalla                                                               Curtis McNeal
1251 NW 51 Ave                                                                1251 NW 51 Ave
Lauderhill, FL 33313                                                          Lauderhill, FL 33313

SSN: xxx−xx−1546                                                              SSN: xxx−xx−2479


                                ORDER ALLOWING INSTALLMENT PAYMENTS
      The Application for Individuals to Pay the Filing Fee in Installments has been reviewed by the clerk in
accordance with Local Rule 1006−1(A). The debtor remitted at least one half the filing fee at the time of
filing the petition or has received a Notice of Deadline to Correct Filing Deficiency(ies) which set a deadline
to pay the initial installment payment. ACCORDINGLY,

    IT IS ORDERED that the debtor shall pay the final balance of the filing fee of $ 156.50 on or before
July 19, 2022. Payment must be by money order, cashier's or "official" check payable to "Clerk, United
States Court", and delivered to: US Bankruptcy Court, 299 E Broward Blvd, Room 112, Fort Lauderdale,
FL 33301.

    IT IS FURTHER ORDERED that until this filing fee is paid in full the debtor shall not make any
additional payment or transfer any additional property to an attorney or any other person for services in
connection with this case. Absent further order of court, until this filing fee is paid in full, the debtor in a
chapter 7 case will not receive a discharge and the debtor's plan in a chapter 13 case will be confirmed
only on the condition that the chapter 13 plan provide for this filing fee to be paid in full immediately upon
confirmation.

      IT IS FURTHER ORDERED that failure of the debtor to pay any filing fee installment by the due date
will result in entry of a dismissal order without further notice.
                                                                         ###
The clerk shall serve a copy of this order on the Debtor, Trustee, and if applicable, Attorney for Debtor.
